                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR03-0049-LRR
 vs.                                               FINAL ORDER REGARDING
                                                    MOTION FOR SENTENCE
 CARLA MARSHALL,
                                                   REDUCTION PURSUANT TO
               Defendant.                             18 U.S.C. § 3582(c)(2)

                            ____________________________

       This matter is before the court pursuant to its April 30, 2008 order. In such order,
the court, among other things, discussed Amendment 706, as amended by Amendment
711, to USSG §2D1.1 and stated:
              Having reviewed the defendant’s file, the provisions and
              commentary of USSG §1B1.10, the factors set forth in 18
              U.S.C. § 3553(a), the nature and seriousness of the danger to
              any person or community that may be posed by a reduction in
              the defendant’s term of imprisonment and the defendant’s post-
              sentencing conduct, the court preliminarily deems it
              appropriate to exercise its discretion and grant the defendant
              the maximum reduction permitted under 18 U.S.C. §
              3582(c)(2) and USSG §1B1.10. The maximum reduction
              results in a new term of 70 months imprisonment on count 1
              of the indictment.
The court also notified the parties that they needed to file written objections to the
proposed reduction to the defendant’s sentence and that, if neither party objected, an order
would be filed that makes final the new term of imprisonment.
       Neither party filed objections to the court’s April 30, 2008 order. Consequently,
the court, under 18 U.S.C. § 3582(c)(2), grants a reduction in the defendant’s term of
imprisonment. The defendant’s previously imposed 87 month term of imprisonment, as
reflected in the judgment dated December 22, 2003, is reduced to 70 months



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imprisonment.1 The defendant’s new term of 70 months imprisonment applies to count 1
of the indictment. Except as provided above, all provisions of the judgment dated
December 22, 2003 remain in effect. As previously stated in the April 30, 2008 order and
without a separate order from the court, the duration and conditions of the defendant’s
supervised release remain unchanged.
            The Clerk of Court is directed to send a copy of this order to the Bureau of
Prisons, that is, the place where the defendant is currently incarcerated. The Clerk of
Court is also directed to send a copy of this order to the defendant, USM No. 08995-029,
and the Federal Public Defender.


        IT IS SO ORDERED.
        DATED this 22nd day of May, 2008.




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         For purposes of the April 30, 2008 order and the instant order, the court relied on
the following determinations:
 Previous Offense Level:      28                     Amended Offense Level:       26

 Criminal History Category:   II                     Criminal History Category:   II

 Previous Guideline Range:    87 to 108 months       Amended Guideline Range:     70 to 87 months
The reduced sentence of 70 months imprisonment is within the amended guideline range.

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